                                                Case 5:24-cv-03811-EKL                                  Document 267              Filed 11/21/24                   Page 1 of 1


  UNITED STATES DISTRICT COURT                                                                          TRANSCRIPT ORDER                                                                         COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                                               Please use one form per court reporter.                                                               DUE DATE:
                 CAND 435                                                                          CJA counsel please use Form CJA24
             (CAND Rev. 08/2018)                                                               Please read instructions on next page.
1a. CONTACT PERSON FOR THIS ORDER                                                2a. CONTACT PHONE NUMBER                                                3. CONTACT EMAIL ADDRESS
Mel Lamma                                                                        (212) 951-1154                                                            MLamma@OandZLaw.com
1b. ATTORNEY NAME (if different)                                                 2b. ATTORNEY PHONE NUMBER                                               3. ATTORNEY EMAIL ADDRESS
Timothy Chung                                                                     (212) 951-0521                                                           TChung@OandZLaw.com
4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                  5. CASE NAME                                                                              6. CASE NUMBER
Oppenheim + Zebrak, LLP                                                                                                                                                                               24-cv-03811-EKL
461 5th Avenue, 19th Floor                                                                                  Concord Music Group, Inc. et al v. Anthropic PBC
New York, NY 10017
                                                                                                           8. THIS TRANSCRIPT ORDER IS FOR:
7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND CHECK BOX)→ ❐
                                                              ✔ FTR                                        ❐ APPEAL           ❐ CRIMINAL         ❐ In forma pauperis (NOTE: Court order for transcripts must be attached)
                                                                                                           ✔ NON-APPEAL
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                     (initials)    (e.g. CMC)    specify portion (e.g. witness or time)
                                    Discovery
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11/21/2024           SVK




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                                     Hearing


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10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:




ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                              12. DATE
11. SIGNATURE
                 /s/ Timothy Chung                                                                                                                                                11/21/2024


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